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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

SOLAMERE CAPITAL, a Massachusetts Limited )
Liability Company,                        )
                          Plaintiff,      )
                                          )
v.                                        )                  MBD No. 22-91197
                                          )
MICHAEL A. DIMANNO, an individual, and    )
ACCUIRE, LLC, a Florida Limited Liability )
Company,                                  )
                          Defendants.     )
__________________________________________)

                                 NOTICE OF APPEARANCE

       Please enter the appearance of John M. Shoreman (pro hac vice) of McFadden &

Shoreman, 1050 Connecticut Avenue, NW, Suite 500, Washington, DC 20036, as counsel for

Defendants Michael A. DiManno and Accuire, LLC.

Dated: July 12, 2022                                 Respectfully submitted,

                                                     /s/ John M. Shoreman
                                                     John M. Shoreman pro hac vice
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                                CERTIFICATE OF SERVICE

        I certify that on July 12, 2022, I electronically filed the foregoing using the CM/ECF
system. I certify that all participants having appeared in this case to date are registered CM/ECF
users and that service will be accomplished by the CM/ECF system.

                                                     s/ Christine R. Fitzgerald
                                                     Christine R. Fitzgerald
